Case 1:17-cv-20608-JJO Document 136-2 Entered on FLSD Docket 01/11/2019 Page 1 of 3

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO.: 17-20608-CIV-JAL/JG

ARWIN NICOLAS ZAPATA CARRERO and)
all others similarly situated under 29 U.S.C.

216(b),

Plaintiffs,
vs.

SANABI INVESTMENTS LLC d/b/a
OSCAR’S MOVING & STORAGE,
SAADY BIJANI a/k/a SANDY BIJANI,
HANIN PRIETO,

Defendants.

}
)
)
)
)
)
)
)
)
)
)
)
)
)

 

DECLARATION OF ARWIN NICOLAS ZAPATA CARRERO

A@1, My name is ARWIN NICOLAS ZAPATA CARRERO; I am over eighteen years of age;
I live in the United States and I have personal knowledge of the matters set forth herein. I am
mentally competent to sign this Declaration and do so freely, voluntarily and pursuant to my own
free will. I affirm that the contents of this Declaration are true and correct and to the best of my
belief.

A@ 2. | affirm that this document was translated in Spanish and that prior to signing this
Declaration I confirmed with the translator that I fully understood the contents of this
Declaration prior to executing same.

A423, Tam the Plaintiff in United States District Court, Southern District of Florida, Arwin
Nicolas Zapata Carrero and ail others similarly situated under 29 U.S.C. 216(b) y. Sanabi
Investments LLC d/b/a Oscar’s Moving & Storage, Sandy Bijani, Hanin Prieto, Case No.: 17-

20608-CIV-JAL.
Page 1 of 3

AZ Arwin Nicolas Zapata Carrero

 
Case 1:17-cv-20608-JJO Document 136-2 Entered on FLSD Docket 01/11/2019 Page 2 of 3

474. I worked for the Defendants as a mover from on or about June 2006’ through on or about
February 10, 2017. 2
425. When any piece of furniture was damaged and/or allegedly damaged, said damages
and/or alleged damages were deducted from my wages. As we worked in a moving crew, more
often than not the damages and/or alleged damages were not as a result of my actions and
regardless of same it negatively affected the total wages I received.

Avs. During the relevant time period, I witnessed the individual Defendant, Saady Bijani a/k/a
Sandy Bijani, sign blank checks and then provide them to the individual Defendant, Hanin
Prieto. The individual Defendant Hanin Prieto would then fill in the necessary information
related to wages and hand out the checks to the various other employees; this was regularly the
process in order to receive our wages.

AT], Ifsomething was damaged on a job, Hanin Prieto would regularly determine the amount
of money to be deducted from the employee’s wages, if any.

#728. Ona daily basis, the individual Defendant, Hanin Prieto, would assign me and the other
employees (i.e. other movers) to the assigned truck(s) and which employees would be assigned
to which specific jobs.

429. The individual Defendant, Hanin Prieto, would regularly call me to see how I was doing
with client(s) and then I would overhear the client(s) on the phone with the individual Defendant,
Hanin Prieto, following up after talking on the phone with me. |

A210. Ifa new employee started, the individual Defendant Hanin Prieto would call me and ask

me how the new employee was doing and to provide him with a status update.

 

' In the previously filed Affidavit [DE24-1] there was a scrivener’s error with regards to the year
ACI started working for Defendants which is corrected here.
Page 2 of 3

AZ Arwin Nicolas Zapata Carrero

 
Case 1:17-cv-20608-JJO Document 136-2 Entered on FLSD Docket 01/11/2019 Page 3 of 3

Av. 11. To my knowledge, the individual Defendant Hanin Prieto had the authority to fire

employees and I recall on once or twice witnessing the individual Defendant Hanin Prieto telling
a co-worker that it was not working out and that he was terminated.

At 12. During the relevant time period, on a weekly basis, the individual Defendants, Saady
Bijani a/k/a Sandy Bijani and Hanin Prieto, would conduct meetings with all the employees and
in these meetings the individual Defendant, Hanin Prieto, would ask about specific employees

and discipline any employees that did not have good quality work that week.

42.13. During the relevant time period, the individual Defendant, Hanin Prieto, would also make

employees’ schedules and assign us to our group.

FURTHER AFFIANT SAYETH NAUGHT.

DATED this 2 day of Jgy) “, 2019.
VERIFICATION

Under the penalties of perjury, I herein verify and affirm that the above facts are true and correct:

7’ - DECLARANT
ARWIN NICOLAS ZAPATA CARRERO

INTERPRETER’S ACKNOWLEDGEMENT:

ondaendy 2a,

L ish Movie» , personally known to me,
foregoing was translated from English to Spanish to the best of her ability.

= (Interpyeter’s signature) ~

  
    

aig, — Natalie Staroschak
2 COMMISSION #FF198424
EXPIRES: February 11, 2079

WWW.AARONNOTARY.COM

ie
xX

Laney,
* WY
HAWS

,
"
A

yt
3,

x
=
R:
By
My, “ih

=
aS
ay

i

Page 3 of 3

AZ@_ Arwin Nicolas Zapata Carrero

 
